21-11298-lgb   Doc 24-11   Filed 08/19/21 Entered 08/19/21 15:22:12   Exhibit K
                                    Pg 1 of 3




                     EXHIBIT K
  21-11298-lgb       Doc 24-11       Filed 08/19/21 Entered 08/19/21 15:22:12                Exhibit K
                                              Pg 2 of 3


                                                                                  Y. David Scharf
                                                                                  Chair and Managing Partner
                                                                                  (212) 735-8604
                                                                                  dscharf@morrisoncohen.com


                                                         April 27, 2021


VIA EMAIL AND OVERNIGHT DELIVERY

286 Rider Acquisition LLC
679 Driggs Ave.
Brooklyn, New York 11211

286 Rider Ave Development LLC
679 Driggs Ave.
Brooklyn, New York 11211
Attention: Toby Mokovits


Re:     Loan in the principal amount of $8,000,000.00 (the “Loan”) to 286 Rider Acquisition LLC
        (“Borrower”), which Loan is currently held by Be-Aviv 286 Rider LLC (“Lender”) and is
        evidenced by that certain Promissory Note dated as of September 19, 2019 (the “Note”), as
        amended by the First Amendment to Promissory Note (the “Amendment”) dated as of
        September 18, 2020 (collectively, the “Loan Agreement”) and secured by, among other
        things, that certain Membership Interest Pledge Agreement dated as of September 19, 2019,
        given by 286 Rider Ave Development LLC for the benefit of Lender (the “Pledge”); that
        certain Mortgage and Security Agreement, dated September 19, 2019, made by and between
        Borrower and Lender in the principal amount of the Loan and recorded with the Office of the
        City Register for the City of New York on September 30, 2019, under CRFN 201900315617
        (the “Mortgage”) against the property located at 286 Rider Avenue, Bronx, New York; the
        Note, the Loan Agreement, the Pledge, the Mortgage, and all other documents evidencing or
        securing the Loan shall hereinafter collectively be referred to as the “Loan Documents”

Ladies and Gentlemen:

       I write on behalf of Be-Aviv 286 Rider LLC as Lender, in regard to the above referenced
Loan. Reference is hereby made to the Loan Documents. All capitalized terms used herein but not
otherwise defined herein shall have the meaning ascribed to them in the Loan Agreement.

        Pursuant to that certain letter dated March 2, 2021, Borrower was notified that by virtue of
Borrower’s failure to comply with certain terms and conditions of the Amendment, the Loan matured
on the Extended Maturity date of March 1, 2021. Borrower’s continuing failure to pay the outstanding
principal balance of the Note, together with all accrued and unpaid interest thereon and all other sums
due under the Loan Agreement constitute an Event of Default under the Loan Documents.

        By reason of the Event of Default, Lender is entitled, in its sole discretion, to exercise certain
rights and remedies under the Loan Documents. Pursuant to the Pledge, Borrower has pledged to
Lender, the Collateral, as defined in the Pledge, consisting of, among other assets, all equity interests
in the Borrower represented by the Certificate for Limited Liability Company Interests and




909 Third Avenue, New York, NY 10022-4784 ∙ p:212.735.8600 ∙ f:212.735.8708 ∙ www.morrisoncohen.com
   21-11298-lgb      Doc 24-11       Filed 08/19/21 Entered 08/19/21 15:22:12               Exhibit K
                                              Pg 3 of 3


286 Rider Ave Development LLC
April 27, 2021
Page 2


Assignment of Interest. Pursuant to Section 5(a) of the Pledge, you are hereby notified that in order
to protect its interest in the Collateral, Lender is exercising Lender’s right to assign, transfer and
register, as applicable, all membership and equity interest of the Borrower to and in the name of
Lender as if Lender was the absolute owner thereof. By copy of this letter, Lender hereby instructs
Borrower to register Lender as the record owner of the Borrower, effective immediately, update its
corporate record books to reflect the forgoing, and notify Lender upon completion.

         Notwithstanding the exercise of the foregoing right or any other rights or remedies or the
taking of (or omitting to take) any action, including without limitation the commencement or
continuation of discussions or negotiations, the acceptance of payments, or the postponement or delay
in taking any action or exercising rights or remedies, Lender has not and does not waive the Event of
Default or any other defaults which may exist now or hereafter. Lender shall not be limited or
restricted from enforcing any rights or remedies available to it, under the Loan Documents, at law or
in equity, or otherwise, including, without limitation, commencing foreclosure proceedings, seeking
the appointment of a receiver to collect rents and profits, or otherwise administering the collateral.

        No exercise of any rights or remedies or taking of (or omitting to take) any action, including
with limitation any negotiations, making or acceptance of payments, delay in making demand or
enforcing rights or remedies, or other action or inaction undertaken pursuant to this letter or under the
Loan Documents or otherwise, shall constitute a waiver, modification, limitation or release of any of
Lender’s rights and remedies at law or in equity or under the Loan Documents, or otherwise, all of
which the Lender hereby reserves, unless otherwise specifically stated in a written agreement signed
by Lender.

        Should you have any questions, please feel free to contact me at (212) 735-8604.


                                                                 Respectfully submitted,




cc:

Treff & Lowry PLLC
481 Wythe Avenue, 2nd Floor
Brooklyn, New York 11249
Attention: Mark Schlanger, Esq.
